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   INC., Debtor and Debtor-in-Possession
 6

 7                                UNITED STATES BANKRUPTCY COURT
 8                  CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION
 9 In re                                                   Case No. 8:18-bk-13324-CB

10 RUBY’S FRANCHISE SYSTEMS, INC., a                       Chapter 11
   California corporation,1
11                                                         NOTICE OF MOTION AND MOTION
                  Debtor and                               FOR ORDER (A) EXTENDING THE
12                Debtor-in-Possession                     TIME PERIODS DURING WHICH THE
                                                           DEBTOR HAS THE EXCLUSIVE RIGHT
13                                                         TO FILE A PLAN AND TO SOLICIT
                                                           ACCEPTANCES THEREOF PURSUANT
14                                                         TO SECTION 1121(D) OF THE
                                                           BANKRUPTCY CODE; AND (B)
15                                                         GRANTING RELIEF FROM DEADLINE
                                                           TO FILE A PLAN; MEMORANDUM OF
16                                                         POINTS AND AUTHORITIES;
                                                           DECLARATION OF DOUGLAS S.
17                                                         CAVANAUGH IN SUPPORT THEREOF
18                                                         [No Hearing Required Unless Requested per
                                                           L.B.R. 2014-1(b)]
19

20

21

22

23
             TO THE HONORABLE CATHERINE E. BAUER, UNITED STATES BANKRUPTCY
24
     JUDGE, THE OFFICE OF THE UNITED STATES TRUSTEE, THE 20 LARGEST
25
     UNSECURED CREDITORS, SECURED CREDITORS, AND OTHER PARTIES IN
26
     INTEREST:
27
             1
28               The last four digits of the Debtor’s federal tax identification number is 8101.


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 1            PLEASE TAKE NOTICE that RUBY’S FRANCHISE SYSTEMS, INC., a California
 2 corporation (“RFS” or the “Debtor”), hereby moves this Court (the “Motion”) pursuant to section

 3 1121 of title 11 of the United States Code (the “Bankruptcy Code”) for an order:2

 4            (1)       Extending the exclusivity periods, pursuant to section 1121 of the Bankruptcy

 5 Code, by which Debtor has to file a plan from January 4, 2019 to and including March 5, 2019;

 6 and

 7            (2)       Extending the solicitation exclusivity periods, pursuant to section 1121 of the

 8 Bankruptcy Code, during which only Debtor may solicit acceptances to its plan, from March 5,

 9 2019 to and including June 3, 2019.

10            Good cause exists for this limited extension of the exclusivity deadlines pursuant to section

11 1121(d) of the Bankruptcy Code as Debtor, after extensive negotiations, has reached agreements

12 in its chapter 11 case which will provide the structure of and funding for a joint plan of

13 reorganization to be filed by Debtor and related debtor, Ruby’s Diner, Inc., a California

14 corporation (“RDI”), an entity affiliated with Debtor through common ownership and control

15 which is a debtor in a separate chapter 11 proceeding pending in front of this Court.3

16            Specifically, and as set forth in further detail herein, these agreements provide for the

17 provision of debtor-in-possession financing in the amount of Two Million Dollars ($2,000,000)

18 (the “DIP Financing”) and additional plan funding by Steve Craig, as lender and plan sponsor, for
19 total consideration of at least Four Million Dollars ($4,000,000) (including the DIP Financing)

20 pursuant to a plan support agreement dated August 30, 2018, as amended (defined herein as the

21 “Plan Support Agreement”). In addition, Debtor has negotiated and recently reached agreement

22 with the Official Committee of Unsecured Creditors (the “Committee”) regarding the terms of the

23 plan to be proposed in Debtor’s case and its support for the DIP Financing and the Plan Support

24 Agreement. In order to have a period of time to obtain Court approval of the agreements with Mr.

25

26            2
                  The deadlines set forth in this Motion are based on the September 6, 2018 petition date of the
27 Debtor.
              3
28                The Debtor and RDI currently contemplate filing one joint plan in their chapter 11 cases.



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 1 Craig and the Committee (approval of which will be sought by way the “DIP Financing

 2 Motion”), and thereafter prepare and file a plan and disclosure statement in accordance with such

 3 agreements, Debtor requires a limited extension of the exclusivity periods as requested by this

 4 Motion.4

 5            Under these circumstances, the factors traditionally considered by bankruptcy courts

 6 overwhelmingly support extending Debtor’s exclusivity period. Moreover, an extension of

 7 exclusivity will facilitate this chapter 11 case moving forward towards a fair and equitable

 8 resolution, which is the ultimate purpose of exclusivity. Accordingly, Debtor believes that the

 9 requested extensions are reasonable and necessary and therefore should be granted by this Court.

10            PLEASE TAKE FURTHER NOTICE that, any objection to the Motion and request for
11 a hearing must be in the form prescribed by Local Bankruptcy Rule 9013-1(o)(1) and must be filed

12 with the Clerk of the Bankruptcy Court located at the Ronald Reagan Federal Building and U.S.

13 Courthouse, 411 West Fourth Street, Santa Ana, CA 92701 and served on counsel for Debtor, at

14 the address indicated in the upper left-hand corner of the first page of the Motion, and the Office

15 of the United States Trustee, 411 West Fourth Street, Suite 7160, Santa Ana, CA 92701, within

16 fourteen (14) days after the date of the service of the notice. If a timely response and request for

17 hearing is filed and served, then Debtor will schedule and give not less than fourteen (14) days’

18 notice of a hearing to those responding and to the Office of the United States Trustee.
19            PLEASE TAKE FURTHER NOTICE that, pursuant to Rule 9013-1(o) of the Local
20 Bankruptcy Rules, failure to timely file and serve a response or objection may be deemed to

21 constitute consent to the relief requested by Debtor in this Motion. If the objection period expires

22 without the filing of a response and request for hearing, then Debtor will submit to this Court an

23 order for entry without a hearing.

24
              4
25          While Debtor requests an extension of sixty (60) days, Debtor anticipates that it will be in a
   position to file a plan and disclosure statement well within this time. Indeed, Debtor’s DIP budget
26 estimates that an effective date of the plan will be on or around the end of April 2019. The timing,
   however, will depend on the approval of the DIP Financing and assumption of and entry into the Plan
27
   Support Agreement, as requested by the DIP Financing Motion, and the requested extension is without
28 prejudice to Debtor’s right to request further extensions, as may be appropriate.


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 1            This Motion is based upon the attached Memorandum of Points and Authorities and

 2 Declaration of Douglas S. Cavanaugh, the record in these chapter 11 cases, and such additional

 3 arguments and evidence that may be properly presented to this Court, at, or prior to, any hearing or

 4 ruling on this Motion, if such hearing is deemed necessary.

 5            WHEREFORE, Debtor respectfully requests that the Court enter an order:
 6            A.        Granting this Motion without prejudice to Debtor’s ability to seek further

 7 extensions of the exclusivity periods;

 8            B.        Extending Debtor’s exclusivity periods to file a plan from January 4, 2018 to and

 9 including March 5, 2019;

10            C.        Extending Debtor’s exclusivity periods for soliciting acceptances of their plan from

11 March 5, 2019 to and including June 3, 2019; and

12            D.        Granting such other and further relief as may be just and proper under the

13 circumstances.

14

15 DATED: January 3, 2019                          THEODORA ORINGHER PC

16

17
                                                   By:           /s/ Eric J. Fromme
18                                                       Eric J. Fromme, Esq.
                                                         Attorneys for Debtor
19                                                       RUBY’S FRANCHISE SYSTEMS, INC.
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 1                           MEMORANDUM OF POINTS AND AUTHORITIES
 2                                                  I.
 3                                      STATEMENT OF FACTS
 4 A.        Jurisdiction and Venue
 5           This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334. This
 6 is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper pursuant to 28 U.S.C.

 7 §§ 1408 and 1409.

 8
     B.      Background
 9
             On September 6, 2018, Debtor filed a chapter 11 case (the “Case”). No party has
10 requested the appointment of a trustee or examiner in the Debtor’s case. On September 19, 2018,

11 the Office of the United States Trustee appointed an Official Committee of Unsecured Creditors in

12
     the jointly administered bankruptcy case filed by RDI (the “Committee”).
13
     C.      Description of Debtor’ Business
14
             Ruby’s Franchise Systems, Inc. (“RFS”) was incorporated on July 13, 1990. Its principal
15 business address is 4100 MacArthur Blvd., Suite 310, Newport Beach, California 92660. Ruby’s

16
   Diners, Inc. (“RDI”), an affiliate of the Debtor through common ownership and control, owns
17 varying percentages of and operates diners in Southern California through its subsidiaries,

18 including through its wholly-owned subsidiary, SoCal Diners. RDI and its affiliates (referred to
19
   from time to time herein as the “Company”) own, operate and manage restaurants under the trade
20 names “Ruby’s®,” “Ruby’s® Diner,” “The Ruby Restaurant Group,” “Ruby’s® Dinette” and

21 “Ruby’s® Shake Shop.” The Company has operated Ruby’s® Diner restaurants since its

22 incorporation in 1985 and is known as a purveyor of very popular burgers, fries and shakes.

23 Debtor and RDI are both owned 60% by Douglas Cavanaugh and 40% by Ralph Kosmides, the

24
   founders of the Company (the “Company Founders”). RDI is the owner of the Ruby’s®
25
   trademarks, system and intellectual property (the “Marks and Intellectual Property”). Debtor
26 currently serves as the franchisor to the Ruby’s® franchisees/licensees, and licenses the Marks and

27 Intellectual Property from RDI as licensor.

28


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 1            As of the Petition Date, there were twenty-four (24) Ruby’s® Diner franchises (or licensed

 2 units) located in Southern California, Arizona, Pennsylvania, New Jersey, Nevada and Texas that

 3 are owned and, with certain limited exceptions, operated by independent third parties.5 Mr. Craig,

 4 directly or indirectly, is the franchisee with respect to franchised restaurants located in California

 5 (Citadel, Corona del Mar, Laguna Beach, San Clemente) and Arizona (Anthem), and also operates

 6 a Ruby’s food truck.

 7            RFS currently serves as the franchisor to the Ruby’s® franchisees/licensees (the

 8 “Franchisees”) and licenses the Marks and Intellectual Property from RDI as licensor pursuant to

 9 the RFS/RDI License Agreement (as defined herein below). Under RFS’ agreements with the

10 Franchisees (the “Franchise Agreements”), RFS (as franchisor) is entitled to franchise royalty

11 fees from the Franchisees (the “Franchise Royalties”), which are generally the greater of a set

12 dollar amount or four percent (4%) of “Gross Sales” as such term is defined in the Franchise

13 Agreements).6 The Franchise Royalties historically averaged approximately Two Million Four

14 Hundred Thousand Dollars ($2,400,000) per annum (assuming payment of Franchise Royalties by

15 the Franchisees). In addition, the majority of the Franchisees7 are obligated under the Franchise

16 Agreements to make payments to an advertising fund in connection with the marketing and

17 advertising of the Ruby’s® brand on a regional and a system/national level, each in the amount of

18 one percent (1%) of Gross Sales (i.e., a total marketing contribution of two percent (2%) of Gross
19 Sales).

20

21            5
             RDI provides operational support and related services to the franchise located in Yorba
   Linda, California (Ruby’s Yorba Linda, Ltd.). Ruby’s Management, LLC (“RMLLC”) (an entity
22
   owned by Mr. Cavanaugh, Mr. Kosmides and Douglas Salisbury), provides operational support and
                                ®
23 related services for a Ruby’s restaurant located in Morongo, California (Ruby’s Morongo) and has
   sub-contracted with RDI for those services for an administrative fee.
24
           6
             Two locations, Ruby’s Anaheim and Ruby’s Morongo, utilize the Marks and Intellectual
25 Property, but do not pay royalties to RFS, nor does Ruby’s Anaheim contribute to the Ad Fund (as
   defined herein).
26
           7
             Certain Franchisees in specialty locations do not have Ad Fund Obligations as they serve a
27
   “captive” customer base, such as the Restaurants located at casinos and airports. As noted above,
28 Ruby’s Anaheim does not have Ad Fund Obligations.


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 1            As licensor of the Marks and Intellectual Property to RFS, pursuant to an Amended and

 2 Restated Trademark and Intellectual Property License Agreement, dated June 1, 1990 (the

 3 “RDI/RFS License Agreement”), RDI is entitled to one percent (1%) of the Gross Sales

 4 generated by the Franchisees as a license fee (i.e., 25% of the Franchise Royalties paid to RFS)

 5 which historically averaged approximately Six Hundred Thousand Dollars ($600,000) per annum

 6 (assuming payment of Franchise Royalties by the Franchisees).

 7 D.         The Plan Support Agreement, DIP Financing and Agreement With the
 8            Committee
 9            Pursuant to a plan support agreement dated August 30, 2018, between RDI, RFS, the

10 Founders and Mr. Craig, as amended (the “Plan Support Agreement”), RDI and RFS

11 contemplate that they will propose a joint chapter 11 plan of reorganization in their chapter 11

12 cases (which plan may, or may not, include the other Debtors, but is referred to herein as the

13 “Plan”), pursuant to which, among other things, the RDI/RFS License Agreement will be

14 terminated and the surviving merged entity will assume the role of franchisor of the Ruby’s®

15 brand. The Plan Support Agreement further provides for the provision of Two Million Dollars

16 ($2,000,000) in DIP Financing from Mr. Craig (approval of which is requested by way of the DIP

17 Financing Motion), as well as the provision of Plan funding by Mr. Craig by way of conversion of

18 the DIP Loan, conversion of an existing note in the face amount of One Million Dollars
19 ($1,000,000) owed by RFS to Mr. Craig, and the provision of new funds such that the total

20 consideration paid by Mr. Craig will be Four Million Dollars ($4,000,000). In addition, the Plan

21 Support Agreement provides that the Founders will make a “new value” contribution on the

22 Effective Date of the Plan.8 As a result of the proposed implementation of the terms of the Plan

23 Support Agreement pursuant to the Plan, all of the assets of RDI and RFS will be owned by a

24 reorganized debtor which will be owned 60% by Mr. Craig, 24% by Mr. Cavanaugh and 16% by

25

26

27            8
           To the extent required by applicable law, the “new value” contribution by the Founders will
28 be valued by way of an auction process in connection with the Plan process.


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 1 Mr. Kosmides (with the Founders’ interests subject to dilution in the event that Mr. Craig funds

 2 additional cash on the Effective Date).

 3            The Plan Support Agreement, including agreement for the provision of the DIP Facility

 4 (and a break-up fee), is an integrated agreement with terms that are conditioned upon approval of

 5 the whole. Accordingly, Debtor seeks approval of the assumption of and entry into the Plan

 6 Support Agreement by way of the DIP Financing Motion.

 7            Debtor has also reached an agreement the Committee for the treatment of unsecured

 8 creditors under the Plan. In accordance with this agreement, the relief requested by the DIP

 9 Financing Motion, including approval of the DIP Financing and assumption of and entry in the

10 Plan Support Agreement, has the support of the Committee.

11 E.         The Requested Extension of the Exclusivity Periods
12            On January 4, 2019, the 120-day period provided for in section 1121(c)(2) of the

13 Bankruptcy Code, during which only Debtor may file a plan of reorganization, will expire in

14 Debtor’s case. On March 5, 2019, the 180-day period provided in section 1121(c)(3), during

15 which only Debtor’s filed plan may be considered for acceptance or rejection, will expire in the

16 Debtor’s case. This is Debtor’s first motion to extend the exclusivity periods.

17            Debtor seeks this first extension of its exclusivity period for filing a plan and obtaining

18 acceptances of its plan in order to allow sufficient time for Debtor to obtain Court approval of the
19 DIP Financing and the assumption of and entry into the Plan Support Agreement with Mr. Craig

20 and the Founders as requested by the DIP Financing Motion, to implement the same pursuant to a

21 Plan and, thereafter, to proceed through the disclosure statement and plan confirmation process

22 without the distraction and expense of a competing plan. Therefore, Debtor requests that the

23 exclusivity period pursuant to section 1121(c)(2) of the Bankruptcy Code be extended for an

24 additional sixty (60) days through and including March 5, 2019, and the exclusivity period

25 pursuant to section 1121(c)(3) be extended for an additional ninety (90) days through and

26 including June 3, 2019.9

27
              9
28                Debtor anticipates that it will be in a position to file a plan and disclosure statement well



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 1                                                   II.
 2                           CAUSE EXISTS TO GRANT AN EXTENSION OF THE
 3                                 DEBTORS’ EXCLUSIVITY PERIODS
 4 A.         The Bankruptcy Code Specifically Provides for an Extension of the          Exclusivity
 5            Periods
 6            To promote balanced and successful reorganizations under chapter 11 of the Bankruptcy

 7 Code, Congress provided debtors with the exclusive right, for a reasonable period of time, to

 8 propose a plan of reorganization and solicit votes thereon. To that end, section 1121(b) of the

 9 Bankruptcy Code provides a debtor with the exclusive right to file a plan of reorganization for a

10 period of 120 days from the entry of the order for relief under chapter 11. See 11 U.S.C.

11 § 1121(b); 7 COLLIER ON BANKRUPTCY ¶ 1121.03 Alan N. Resnick & Henry J. Sommer eds., 16th

12 ed.). “If the debtor files a plan within this 120-day exclusivity period, then section 1121(c)(3)

13 provides that exclusivity is extended for an additional 60 days to 180 days to maintain exclusivity

14 during the acceptance/solicitation period required by sections 1126 and 1129(a).” 7 COLLIER ON

15 BANKRUPTCY at ¶ 1121.04 (16th ed.). During these two exclusivity periods that run concurrently,

16 no other party in interest may file a competing plan. See id. After a debtor’s “exclusivity periods”

17 expire, any other party in interest may file a plan. See 11 U.S.C. § 1121(c).

18            The flexibility of section 1121 of the Bankruptcy Code is intended to give the debtor an

19 adequate opportunity to stabilize its business operations at the outset of its chapter 11 case, to

20 resolve critical contingencies and to negotiate an effective plan of reorganization with its creditors.

21 See In re Newark Airport/Hotel L.P., 156 B.R. 444, 451 (Bankr. D. N.J.), aff’d, 155 B.R. 93

22 (D.N.J. 1993) (noting that chapter 11 provisions are designed to enable a debtor to remain in

23 control for some period of time, thereby making reorganization an attractive alternative to

24 financially troubled companies); Gaines v. Perkins (In re Perkins), 71 B.R. 294, 297-98 (W.D.

25 within the requested sixty (60) day extension. Indeed, Debtor’s DIP budget estimates that an
   effective date of the plan will be on or around the end of April 2019. The timing, however, will
26 depend on the approval of the DIP Financing and assumption of and entry into the Plan Support
   Agreement, as requested by the DIP Financing Motion. The extension requested by way of this
27
   Motion, therefore, is without prejudice to Debtor’s right to request further extensions, as may be
28 appropriate


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 1 Tenn. 1987) (noting that section 1121 of the Bankruptcy Code is designed to give the debtor time

 2 to reach an agreement with its creditors regarding a plan of reorganization).

 3            A bankruptcy court can increase the exclusivity periods for “cause.” The party seeking an

 4 extension or termination in the statutory time period provided under 11 U.S.C. § 1121(d) bears the

 5 burden of proving that “the requisite cause exists.” See In re All Seasons Indus., Inc., 121 B.R.

 6 1002, 1004 (Bankr. N.D. Ind. 1990). Bankruptcy courts examine a number of factors in

 7 determining whether a debtor has had an adequate opportunity to develop, negotiate and propose a

 8 chapter 11 plan and, thus, whether there is “cause” for extension of the debtor’s exclusive periods,

 9 including the following non-exclusive list of nine factors:

10
                        1.   The size and complexity of the case;
11
                        2.   The necessity of sufficient time to permit the debtor to negotiate a
12                           plan of reorganization and prepare adequate information;

13                      3.   The existence of good faith progress toward reorganization;

14                      4.   The fact that the debtor is paying its bills as they become due;

15                      5.   Whether the debtor has demonstrated reasonable prospects for
                             filing a viable plan;
16
                        6.   Whether the debtor has made progress in negotiations with its
17                           creditors;

18                      7.   The amount of time which has elapsed in the case;

19                      8.   Whether the debtor is seeking an extension of exclusivity in order
                             to pressure creditors to submit to the debtor's reorganization
20                           demands; and
                        9.   Whether an unresolved contingency exists.
21
     In re Dow Corning Corp., 208 B.R. 661, 664-65 (Bankr. E.D. Mich. 1997) (cited with approval in
22
     In re Henry Mayo Newhall Memorial Hospital, 282 B.R. 444, 452 (B.A.P. 9th Cir. 2002)); In re
23
     Adelphia Communications Corp., 352 B.R. 578, 587 (Bankr. S.D.N.Y. 2006); In the Matter of
24
     Friedman's, Inc., 336 B.R. 884, 888 (Bankr. S.D. Ga. 2005).
25
              These nine factors are simply a starting point, the debtor need not satisfy every single
26
     factor, and courts are free to consider other relevant factors based on the unique facts of the case.
27
     See Adelphia Communications Corp., 352 B.R. at 583, 587. The transcendent consideration is
28


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 1 "whether adjustment of exclusivity will facilitate moving the case toward a fair and equitable

 2 resolution." See Henry Mayo, 282 B.R. at 453. The decision of whether to grant a request to

 3 extend the exclusivity deadlines lies within the sound discretion of the bankruptcy court. See In re

 4 Gibson & Cushman, 101 B.R. 405, 409 (E.D.N.Y. 1989).

 5 B.         Good Cause Exists to Grant the Requested Extension of the Exclusivity Periods
 6            As illustrated below, an application of the foregoing standards to the facts present in this

 7 chapter 11 case demonstrate sufficient “cause” to grant Debtor’s requested extensions of the

 8 exclusivity periods. A review of relevant factors, which are discussed in detail below, weigh

 9 heavily in favor of granting this Motion.

10                           1.   Size and Complexity of the Cases
11            RFS’ case is related to RDI’s case, which consists of seven (7) jointly administered, but

12 not consolidated, estates. The jointly administered cases collectively have over $20 million in

13 secured and unsecured debt, and have thousands of creditors. In addition, while the joint

14 administration of the cases has eliminated a large degree of administrative complications, and RFS

15 only had one set of schedules of assets and liabilities and statements of financial affairs, the same

16 employees that worked on the other sets of schedules were needed to work on RFS’ schedules and

17 statement of financial affairs. Furthermore, RFS has spent significant time working with counsel

18 for RDI in formulating a plan and negotiating with the Committee. As such, the size and
19 complexity of the cases weighs in favor of granting an extension of exclusivity.

20                           2.   The Necessity of Sufficient Time to Permit Debtor to Negotiate a Plan
21                                and Prepare Adequate Information and Good Faith Progress in the
22                                Administration of the Case
23            Debtor has been operating under the protection of chapter 11 for under four (4) months.

24 During this short period of time, Debtor has made significant progress in administering the case.

25 Such efforts include, but not limited to the following: (1) the filing and obtaining of orders on

26 various “first day” motions, including a motion authorizing Debtor’ use of cash collateral, a

27 motion authorizing Debtor to honor certain pre-petition obligations/customer programs in the

28 ordinary course, a motion prohibiting the termination of utility services, a motion authorizing the


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 1 continued use of Debtor’ cash management system, and a motion authorizing Debtor to honor

 2 certain employee programs; (2) preparing and filing schedules of assets and liabilities; and (3)

 3 filing and obtaining orders authorizing the employment of professionals. Debtor is in compliance

 4 with its obligations to the Office of the United States Trustee.

 5            Moreover, as detailed herein, Debtor has made significant progress in its chapter 11 case in

 6 reaching agreements that will provide for case and plan funding – by way of the DIP Financing

 7 and the Plan Support Agreement – and for the treatment of unsecured creditor claims under the

 8 Plan pursuant to Debtor’s agreement with the Committee. These agreements will be reflected in

 9 the Plan to be prepared and filed with the Court in the near term following Court approval of the

10 relief requested pursuant to the DIP Financing Motion.

11                           3.   Debtor is Paying Its Bills as They Become Due
12            Here, Debtor is currently operating under a Court approved budget and is current on all of

13 its undisputed post-petition bills. As a result, Debtor is managing its business effectively and is

14 preserving the value of its assets for the benefit of creditors. Debtor is also current on all post-

15 petition United States Trustee fees.

16                           4.   The Cases Have Been Pending for a Mere Four Months
17            This is Debtor’s first request for an extension of the exclusivity periods and it comes less

18 than four (4) months after the commencement of the cases.
19                           5.   Debtor Has Attempted to Negotiate With Creditors
20            To date, Debtor has worked together with its creditors in a cooperative manner. Debtor

21 has spent significant time working to resolve disputes with its pre-petition secured and unsecured

22 creditors and, for any other creditor who has requested it, Debtor has provided and shared

23 information with those creditors. Debtor’s agreement with Opus Bank and other secured creditors

24 relative to the use of cash collateral, and its agreement with the Committee relative to the

25 treatment of unsecured claims under the plan, supports the requested extension of the exclusivity

26 periods.

27 ///

28 ///


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 1                           6.   Debtor is Not Using Exclusivity in Order to Pressure Creditors to
 2                                Submit to Debtor's Reorganization Demands
 3            Debtor’s request for an extension of exclusivity is made in good faith, and not for the

 4 improper purpose of delay, to gain advantage in negotiations with any claimants, or to pressure

 5 creditors to accede to the terms of its plan.

 6            Debtor’s intention in requesting an extension of exclusivity is simply to procure the time it

 7 needs to obtain court approval of the DIP Financing Motion, and the relief requested therein, and

 8 to prepare a plan in accordance with the Plan Support Agreement and the agreement with the

 9 Committee and will ensure the fair and efficient treatment of all valid creditors’ claims in the

10 cases. If exclusivity is terminated, Debtor may be forced to divert time and resources away from

11 this process to defend against competing plans. A competing plan battle will complicate the cases

12 and would result in substantial extra costs that might otherwise be avoided. Debtor has been and

13 will continue to be extrememly diligent in moving the case forward toward plan confirmation.

14                           7.   The Foregoing Factors Support an Extension of the Exclusivity Periods
15            Based on the foregoing, there is no evidence that Debtor has sought to delay the formation

16 and confirmation of a plan or is using exclusivity for improper purposes. The motion is timely

17 and may be approved without a formal hearing

18            Section 1121(d) of the Bankruptcy Code provides that, on request of a party in interest
19 made within the respective periods specified in 11 U.S.C. § 1121(b) and (c), after notice and a

20 hearing, “the court may for cause reduce or increase the 120-day period or the 180-day period

21 referred to in this section.” See 11 U.S.C. § 1121(d) (emphasis added). “[T]he statutory

22 requirement is that a request for an extension be made within the prevailing exclusivity period, not

23 that the request be granted in such a period.” See In re Nicolet, Inc., 80 B.R. 733, 741 (Bankr.

24 E.D. Pa. 1988) (emphasis in original). As the Motion has been filed prior to the expiration of the

25 current exclusivity periods, the request is timely.

26            Even though section 1121(d) provides that the extension may be provided after notice and

27 a hearing, Local Bankruptcy Rule 9013-1(o)(1), provides that certain motions and matters can be

28 determined solely upon notice and opportunity to request a hearing. See Local Bankruptcy Rule


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 1 9013-1(o)(1). Debtor seeks this Court’s approval of the Motion in accordance with Local

 2 Bankruptcy Rule 9013-1(o)(1). In addition, sections 102(1)(A) and (B) of the Bankruptcy Code

 3 provide that “after notice and a hearing” means after such notice as is appropriate in the particular

 4 circumstances, and such opportunity for a hearing as is appropriate in the particular

 5 circumstances. . . .”

 6                                                       II.
 7                                                CONCLUSION
 8
              WHEREFORE, Debtor respectfully requests that this Court enter an order:
 9
              (1)       Granting this Motion without prejudice to Debtor’s ability to request further
10 extensions of the exclusivity periods;

11        (2)     Extending Debtor’s exclusivity periods to file a plan from January 4, 2019, to and
12 including March 5, 2019;

13        (3)    Extending Debtor’s exclusivity periods for soliciting acceptances of their plan from
14 March 5, 2019, to and including June 3; and

15       (4)     Granting such other further relief as this Court deems just and proper.
16

17
     DATED: January 3, 2019                        THEODORA ORINGHER PC
18
19

20                                                 By:            /s/ Eric J. Fromme
                                                          Eric J. Fromme, Esq.
21
                                                          Attorneys for Debtor
22                                                        RUBY’S FRANCHISE SYSTEMS, INC.

23

24

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 1                            DECLARATION OF DOUGLAS S. CAVANAUGH

 2            1.        I am a founder and the Chief Executive Officer (“CEO”) of Ruby’s Franchise
 3 Systems, Inc., a California corporation (“RFS”), the debtor in the above-captioned chapter 11 case

 4 and debtor-in-possession. I have served in the capacity of CEO of RFS since its incorporation in

 5 1990. I am also a 60% shareholder of RFS. Ralph Kosmides owns the other 40% of RFS. Mr.

 6 Kosmides and I also own, in the same percentages, Ruby’s Diners, Inc., a California corporation

 7 (“RDI”), an entity affiliated with the Debtors through common ownership and control which is a

 8 debtor in a separate chapter 11 proceeding pending in front of this Court. Together, Mr. Kosmides

 9 and I are referred to herein as the “Founders”).

10            2.        I submit this declaration (the “Declaration”) in support of Debtor’s Motion for
11 Order (A) Extending the Time Periods During Which Debtor Have the Exclusive Right to File a

12 Plan and to Solicit Acceptances Thereof Pursuant to Section 1121(d) of the Bankruptcy Code; and

13 (B) Granting Relief from Deadline to Fila a Plan (the “Motion”)10

14            3.        On September 6, 2018, RFS filed a voluntary petition for relief under chapter 11 of
15 the Bankruptcy Code. On September 5, 2018, RDI commenced a separate chapter 11 proceeding.

16            4.        No party has requested the appointment of a trustee or examiner in the Debtor’s
17 case. On September 19, 2018, the Office of the United States Trustee appointed an Official

18 Committee of Unsecured Creditors in the RDI case (the “Committee”).
19            5.        RFS was incorporated on July 13, 1990. Its principal business address is 4100
20 MacArthur Blvd., Suite 310, Newport Beach, California 92660. Ruby’s Diners, Inc. (“RDI”), an

21 affiliate of the Debtor through common ownership and control, owns varying percentages of and

22 operates diners in Southern California through its subsidiaries, including through its wholly-

23 owned subsidiary, SoCal Diners. RDI and its affiliates (referred to from time to time herein as the

24 “Company”) own, operate and manage restaurants under the trade names “Ruby’s®,” “Ruby’s®

25 Diner,” “The Ruby Restaurant Group,” “Ruby’s® Dinette” and “Ruby’s® Shake Shop.” The

26

27            10
             Capitalized terms not defined herein have the meanings ascribed to them in the Motion, as
28 applicable.


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 1 Company has operated Ruby’s® Diner restaurants since its incorporation in 1985 and is known as

 2 a purveyor of very popular burgers, fries and shakes. Debtor and RDI are both owned 60% by

 3 Douglas Cavanaugh and 40% by Ralph Kosmides, the founders of the Company (the “Company

 4 Founders”). RDI is the owner of the Ruby’s® trademarks, system and intellectual property (the

 5 “Marks and Intellectual Property”). Debtor currently serves as the franchisor to the Ruby’s®

 6 franchisees/licensees, and licenses the Marks and Intellectual Property from RDI as licensor.

 7            6.        RDI is the 100% owner and sole and managing member of SoCal Diners. SoCal

 8 Diners is the 100% owner and sole and managing member of Quality. SoCal Diners is the general

 9 partner and 50% owner, and Quality is the limited partner and 50% owner, of the following

10 California limited partnerships: (1) Ruby’s Huntington Beach, which owns and operates a Ruby’s®

11 restaurant on the pier in Huntington Beach, California and is one of the SoCal Debtors; (2) Ruby’s

12 Oceanside, which owns and operates a Ruby’s® restaurant in Oceanside, California and is one of

13 the SoCal Debtors; (3) Ruby’s Palm Springs, which owns and operates a Ruby’s® restaurant in

14 Palm Springs, California and is one of the SoCal Debtors; (4) Ruby’s Laguna Hills, which owns

15 and operates a Ruby’s® restaurant in the Laguna Hill Mall in Laguna Hills, California and is one

16 of the SoCal Debtors; 11 and (5) Ruby’s Mission Valley, Ltd., which until a few months prior to

17 the Petition Date, owned and operated a Ruby’s® restaurant in the Westfield Mission Valley Mall

18 in San Diego, California.12
19            7.        As of the Petition Date, there also were twenty-four (24) Ruby’s® Diner franchises

20 (or licensed units) located in Southern California, Arizona, Pennsylvania, New Jersey, Nevada and

21 Texas that are owned and, with certain limited exceptions, operated by independent third parties.13

22

23            11
           RDI anticipates that, due to significant, continuing construction projects underway at the
24 Laguna Hills Mall, the Laguna Hills restaurant will close following the Petition Date.

25            12
             The Mission Valley restaurant was closed prior to the Petition Date, in April 2018. Ruby’s
   Mission Valley, Ltd., while owned by SoCal Diners and Quality, is not operating and is thus not a
26 debtor entity.

27            13
            RDI provides operational support and related services to the franchise located in Yorba
28 Linda, California (Ruby’s Yorba Linda, Ltd.). Ruby’s Management, LLC (“RMLLC”) (an entity


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 1 Mr. Craig, directly or indirectly, is the franchisee with respect to franchised restaurants located in

 2 California (Citadel, Corona del Mar, Laguna Beach, San Clemente) and Arizona (Anthem), and

 3 also operates a Ruby’s food truck.

 4            8.        RFS currently serves as the franchisor to the Ruby’s® franchisees/licensees (the

 5 “Franchisees”) and licenses the Marks and Intellectual Property from RDI as licensor pursuant to

 6 the RFS/RDI License Agreement (as defined herein below). Under RFS’ agreements with the

 7 Franchisees (the “Franchise Agreements”), RFS (as franchisor) is entitled to franchise royalty

 8 fees from the Franchisees (the “Franchise Royalties”), which are generally the greater of a set

 9 dollar amount or four percent (4%) of “Gross Sales” as such term is defined in the Franchise

10 Agreements).14 The Franchise Royalties historically averaged approximately Two Million Four

11 Hundred Thousand Dollars ($2,400,000) per annum (assuming payment of Franchise Royalties by

12 the Franchisees). In addition, the majority of the Franchisees15 are obligated under the Franchise

13 Agreements to make payments to an advertising fund in connection with the marketing and

14 advertising of the Ruby’s® brand on a regional and a system/national level, each in the amount of

15 one percent (1%) of Gross Sales (i.e., a total marketing contribution of two percent (2%) of Gross

16 Sales).

17            9.        As licensor of the Marks and Intellectual Property to RFS, pursuant to an Amended

18 and Restated Trademark and Intellectual Property License Agreement, dated June 1, 1990 (the
19 “RDI/RFS License Agreement”), RDI is entitled to one percent (1%) of the Gross Sales

20 generated by the Franchisees as a license fee (i.e., 25% of the Franchise Royalties paid to RFS)

21

22
   owned by Mr. Cavanaugh, Mr. Kosmides and Douglas Salisbury), provides operational support and
                                ®
23 related services for a Ruby’s restaurant located in Morongo, California (Ruby’s Morongo) and has
   sub-contracted with RDI for those services for an administrative fee.
24
           14
              Two locations, Ruby’s Anaheim and Ruby’s Morongo, utilize the Marks and Intellectual
25 Property, but do not pay royalties to RFS, nor does Ruby’s Anaheim contribute to the Ad Fund (as
   defined herein).
26
           15
              Certain Franchisees in specialty locations do not have Ad Fund Obligations as they serve a
27
   “captive” customer base, such as the Restaurants located at casinos and airports. As noted above,
28 Ruby’s Anaheim does not have Ad Fund Obligations.


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 1 which historically averaged approximately Six Hundred Thousand Dollars ($600,000) per annum

 2 (assuming payment of Franchise Royalties by the Franchisees).

 3            10.       Pursuant to a plan support agreement dated August 30, 2018, between RDI, RFS,

 4 the Founders and Steve Craig, as amended (the “Plan Support Agreement”), RDI and RFS

 5 contemplate that they will propose a joint chapter 11 plan of reorganization in their chapter 11

 6 cases (which plan may, or may not, include the other Debtors, but is referred to herein as the

 7 “Plan”), pursuant to which, among other things, the RDI/RFS License Agreement will be

 8 terminated and the surviving merged entity will assume the role of franchisor of the Ruby’s®

 9 brand. The Plan Support Agreement further provides for the provision of Two Million Dollars

10 ($2,000,000) in DIP Financing from Mr. Craig (approval of which is requested by way of the DIP

11 Financing Motion), as well as the provision of Plan funding by Mr. Craig by way of conversion of

12 the DIP Loan, conversion of an existing note in the face amount of One Million Dollars

13 ($1,000,000) owed by RFS to Mr. Craig, and the provision of new funds such that the total

14 consideration paid by Mr. Craig will be Four Million Dollars ($4,000,000). In addition, the Plan

15 Support Agreement provides that the Founders will make a “new value” contribution on the

16 Effective Date of the Plan.16 As a result of the proposed implementation of the terms of the Plan

17 Support Agreement pursuant to the Plan, all of the assets of RDI and RFS will be owned by a

18 reorganized debtor which will be owned 60% by Mr. Craig, 24% by me and 16% by Mr.
19 Kosmides (with the Founders’ interests subject to dilution in the event that Mr. Craig funds

20 additional cash on the Effective Date).

21            11.       The Plan Support Agreement, including agreement for the provision of the DIP

22 Facility (and a break-up fee), is an integrated agreement with terms that are conditioned upon

23 approval of the whole. Accordingly, Debtor seek approval of the assumption of and entry into the

24 Plan Support Agreement by way of the DIP Financing Motion.

25

26

27            16
            To the extent required by applicable law, the “new value” contribution by the Founders will
28 be valued by way of an auction process in connection with the Plan process.


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 1            12.       Debtor has also reached an agreement the Committee for the treatment of

 2 unsecured creditors under the Plan. In accordance with this agreement, the relief requested by the

 3 DIP Financing Motion, including approval of the DIP Financing and assumption of and entry in

 4 the Plan Support Agreement, has the support of the Committee.

 5            13.       This is Debtor’s first motion to extend the exclusivity periods. Debtor seek a sixty

 6 (60) day first extension of their exclusivity periods for filing a plan and obtaining acceptances of

 7 their plan in order to allow sufficient time for Debtor to obtain Court approval of the DIP

 8 Financing and the assumption of and entry into the Plan Support Agreement with Mr. Craig and

 9 the Founders as requested by the DIP Financing Motion, to implement the same pursuant to a Plan

10 and, thereafter, to proceed through the disclosure statement and plan confirmation process without

11 the distraction and expense of a competing plan.

12            14.       I anticipate that Debtor will be in a position to file a plan and disclosure statement

13 well within the requested sixty (60) day extension. Indeed, Debtor’s DIP budget estimates that an

14 effective date of the plan will be on or around the end of April 2019. The timing, however, will

15 depend on the approval of the DIP Financing and assumption of and entry into the Plan Support

16 Agreement, as requested by the DIP Financing Motion. The requested extension, therefore, is

17 without prejudice to Debtor’s right to request further extensions, as may be appropriate.

18            15.       The estates of the jointly administered cases collectively have over $20 million in
19 secured and unsecured debt, and have thousands of creditors.

20            16.       Debtor is in compliance with its duties under sections 521, 1106 and 1107 of the

21 Bankruptcy Code, and also in compliance with the UST requirements.

22            17.       The UST quarterly fees for the quarter ending December 31, 2018 are due on

23 January 31, 2019, and will be paid by Debtor by the payment deadline.

24 ///

25 ///

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                                           Newport
                         3rd               Beach
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 1
                                 PROOF OF SERVICE OF DOCUMENT
 2
     I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
 3 address is: 535 Anton Blvd., 9th Floor, Costa Mesa, CA 92626.

 4
     A true and correct copy of the foregoing document entitled (specify):
     NOTICE OF MOTION AND MOTION FOR ORDER (A) EXTENDING THE TIME PERIODS DURING
 5   WHICH THE DEBTOR HAS THE EXCLUSIVE RIGHT TO FILE A PLAN AND TO SOLICIT
     ACCEPTANCES THEREOF PURSUANT TO SECTION 1121(D) OF THE BANKRUPTCY CODE; AND (B)
 6   GRANTING RELIEF FROM DEADLINE TO FILE A PLAN; MEMORANDUM OF POINTS AND
     AUTHORITIES; DECLARATION OF DOUGLAS S. CAVANAUGH IN SUPPORT THEREOF
 7   will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-
     2(d); and (b) in the manner stated below:
 8
     1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
 9 controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
     hyperlink to the document. On (date) 01/03/2019, I checked the CM/ECF docket for this bankruptcy case or
10 adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
     receive NEF transmission at the email addresses stated below:
11
                  Service information continued on attached page
12
     2. SERVED BY UNITED STATES MAIL:
13 On (date) 01/03/2019, I served the following persons and/or entities at the last known addresses in this
     bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
14   in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
     constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
15   document is filed.

                        Service information continued on attached page
16
     3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
17 (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
        , I served the following persons and/or entities by personal delivery, overnight mail service, or (for those
18 who consented in writing to such service method), by facsimile transmission and/or email as follows. Listing
     the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
19 completed no later than 24 hours after the document is filed.

20                      Service information continued on attached page

21 I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

22 01/03/2019                Loretta Chapman                              /s/Loretta Chapman
      Date                      Printed Name                                         Signature
23

24

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 1                    SERVED BY COURT VIA NOTICE OF ELECTRONIC FILING
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